Filed 06/24/19                                                               Case 19-23969                                                                         Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

  Case number (if known)                                                         Chapter you are filing under:

                                                                                 Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12
                                                                                  Chapter 13                                        Check if this an amended
                                                                                                                                      filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
 of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
 space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
 question.


  Part 1:   Identify Yourself

                                       About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on       Bonnie
       your government-issued          First name                                                      First name
       picture identification (for
       example, your driver's          Fay
       license or passport).           Middle name                                                     Middle name
       Bring your picture
       identification to your meeting
                                      Brooks
       with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years        Bonnie Brooks Acevedo
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal               xxx-xx-8394
       Individual Taxpayer
       Identification number
       (ITIN)




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  Debtor 1   Brooks, Bonnie Fay                                                                          Case number (if known)




                                   About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have      I have not used any business name or EINs.                     I have not used any business name or EINs.
       used in the last 8 years

       Include trade names and     Business name(s)                                               Business name(s)
       doing business as names

                                   EINs                                                           EINs




  5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                   531 Lagomarsino Way
                                   Sacramento, CA 95819-3030
                                   Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                   Sacramento
                                   County                                                         County

                                   If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                   above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                   notices to you at this mailing address.                        address.



                                   Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:
       this district to file for                                                                  Check one:
       bankruptcy                        Over the last 180 days before filing this petition, I
                                          have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                          district.                                                        lived in this district longer than in any other district.

                                         I have another reason.                                          I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
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  Debtor 1    Brooks, Bonnie Fay                                                                             Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
       Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                     Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                          If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                          not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                          your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                          to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for
       bankruptcy within the last
                                    No.
       8 years?                      Yes.
                                               District                                   When                             Case number
                                               District                                   When                             Case number
                                               District                                   When                             Case number



  10. Are any bankruptcy cases
      pending or being filed by
                                    No
      a spouse who is not filing     Yes.
      this case with you, or by
      a business partner, or by
      an affiliate?
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known



  11. Do you rent your
      residence?
                                    No.         Go to line 12.

                                     Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                          bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
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  Debtor 1    Brooks, Bonnie Fay                                                                                Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time        No.         Go to Part 4.
      business?
                                        Yes.       Name and location of business
       A sole proprietorship is a
       business you operate as an                   Name of business, if any
       individual, and is not a
       separate legal entity such as
       a corporation, partnership,
       or LLC.
                                                    Number, Street, City, State & ZIP Code
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach it
       to this petition.                            Check the appropriate box to describe your business:
                                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                           None of the above

  13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
      you a small business             U.S.C. 1116(1)(B).
      debtor?

       For a definition of small
                                       No.         I am not filing under Chapter 11.

       business debtor, see 11
       U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                    Code.

                                        Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any
      property that poses or is
                                       No.
      alleged to pose a threat of       Yes.
      imminent and identifiable                  What is the hazard?
      hazard to public health or
      safety? Or do you own
      any property that needs                    If immediate attention is
      immediate attention?                       needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,               Where is the property?
       or a building that needs
       urgent repairs?
                                                                                Number, Street, City, State & Zip Code




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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  Debtor 1    Brooks, Bonnie Fay                                                                            Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                             You must check one:
      you have received a
                                        Icounseling
                                             received a briefing from an approved credit                I received a briefing from an approved credit
      briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                      completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
       credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
       file for bankruptcy. You
       must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
       the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
       cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
       eligible to file.                   certificate of completion.                                       of completion.

       If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
       can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
       will lose whatever filing fee       plan, if any.
       you paid, and your creditors
       can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
       activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                           unable to obtain those services during the 7                     those services during the 7 days after I made my
                                           days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                           of the requirement.
                                                                                                            To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                           requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                           efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                           unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                           what exigent circumstances required you to file this
                                           case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                            your reasons for not receiving a briefing before you filed for
                                           Your case may be dismissed if the court is                       bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                           still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                           You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                           along with a copy of the payment plan you developed,             your case may be dismissed.
                                           if any. If you do not do so, your case may be
                                                                                                            Any extension of the 30-day deadline is granted only for
                                           dismissed.
                                                                                                            cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted only
                                           for cause and is limited to a maximum of 15 days.
                                          I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                           credit counseling because of:                                    counseling because of:

                                                 Incapacity.                                                   Incapacity.
                                                  I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                  that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                  rational decisions about finances.                             decisions about finances.

                                                 Disability.                                                   Disability.
                                                  My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                  to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                  or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                  tried to do so.

                                                 Active duty.                                                  Active duty.
                                                  I am currently on active military duty in a                    I am currently on active military duty in a military
                                                  military combat zone.                                          combat zone.
                                           If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                           about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                           waiver credit counseling with the court.                         counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
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  Debtor 1    Brooks, Bonnie Fay                                                                               Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                           incurred by an
      you have?                                individual primarily for a personal, family, or household purpose.”
                                                No. Go to line 16b.
                                               Yes. Go to line 17.
                                     16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                               for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.
                                     16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that after
       any exempt property is
                                     Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                               paid that funds will be available to distribute to unsecured creditors?
       excluded and
       administrative expenses
       are paid that funds will be
                                               No
       available for distribution               Yes
       to unsecured creditors?

  18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
      you estimate that you                                                            5001-10,000                                 50,001-100,000
      owe?                            50-99
                                      100-199                                         10,001-25,000                               More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
      estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
      be worth?
                                      $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

  20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
      estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
      be?
                                      $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

  Part 7:    Sign Below

  For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                     States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                     have obtained and read the notice required by 11 U.S.C. § 342(b).

                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                     case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                     /s/ Bonnie Brooks
                                     Bonnie Fay Brooks                                                  Signature of Debtor 2
                                     Signature of Debtor 1

                                     Executed on      June 19, 2019                                     Executed on
                                                      MM / DD / YYYY                                                     MM / DD / YYYY




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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  Debtor 1   Brooks, Bonnie Fay                                                                                Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
  represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                  person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
  If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
  an attorney, you do not need    petition is incorrect.
  to file this page.
                                  /s/ George Burke                                                      Date         June 19, 2019
                                  Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                  George Burke
                                  Printed name

                                  Law Office of George Burke
                                  Firm name


                                  1102 Q St Ste 110
                                  Sacramento, CA 95811-6539
                                  Number, Street, City, State & ZIP Code

                                  Contact phone    (916) 447-2222                                 Email address         attorney@gburkelaw.com
                                  268803
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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                                                          Certificate Number: 15317-CAE-CC-032956491


                                                                         15317-CAE-CC-032956491




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on June 12, 2019, at 7:48 o'clock AM PDT, Bonnie Brooks
           received from Access Counseling, Inc., an agency approved pursuant to 11 U.S.C.
            111 to provide credit counseling in the Eastern District of California, an
           individual [or group] briefing that complied with the provisions of 11 U.S.C.
           109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by telephone.




           Date:   June 12, 2019                          By:      /s/Eric Reyes


                                                          Name: Eric Reyes


                                                          Title:   Certified Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Filed 06/24/19                                                                            Case 19-23969                                                                                          Doc 1
                  Fill in this information to identify your case:

     Debtor 1                   Bonnie Fay Brooks
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


                                                              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                  DIVISION

     Case number
     (if known)
                                                                                                                                                                         Check if this is an
                                                                                                                                                                          amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             775,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              10,570.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             785,570.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             704,472.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                           Schedule E/F.................................                                 $                9,041.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                              Schedule E/F............................                                   $              85,644.00


                                                                                                                                         Your total liabilities $                   799,157.00


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                5,117.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                4,988.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?


                   Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                    purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
     Official Form 106Sum            Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
    Software Copyright (c) 2019 CINGroup - www.cincompass.com
Filed 06/24/19                                                            Case 19-23969                                                                 Doc 1
     Debtor 1     Brooks, Bonnie Fay                                                             Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $   4,209.00


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                              Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                    $                  0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              9,041.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                  0.00

           9d. Student loans. (Copy line 6f.)                                                                  $                  0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                                $                  0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                  0.00


           9g. Total. Add lines 9a through 9f.                                                            $                 9,041.00




    Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
    Software Copyright (c) 2019 CINGroup - www.cincompass.com
Filed 06/24/19                                                                           Case 19-23969                                                                                  Doc 1
                   Fill in this information to identify your case and this filing:

     Debtor 1                    Bonnie Fay Brooks
                                 First Name                             Middle Name                     Last Name

     Debtor 2
     (Spouse, if filing)         First Name                             Middle Name                     Last Name


     United States Bankruptcy Court for the:                     EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

     Case number                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                       12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
       Yes.        Where is the property?




     1.1                                                                        What is the property? Check all that apply


            531 Lagomarsino Way
                                                                                   Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building
            Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the       Current value of the
            Sacramento                        CA        95819-3030                     Land                                       entire property?           portion you own?
            City                              State          ZIP Code                  Investment property                              $775,000.00                 $775,000.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.

                                                                                   Debtor 1 only                                  Fee Simple
                                                                                       Debtor 2 only
            County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here...........................................................................=>                         $775,000.00


     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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Filed 06/24/19                                                                  Case 19-23969                                                                                Doc 1
     Debtor 1         Brooks, Bonnie Fay                                                                           Case number (if known)

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
       Yes

      3.1    Make:      Honda                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:     Odyssey                                 Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
             Year:      2003                                     Debtor 2 only                                            Current value of the      Current value of the
             Approximate mileage:               106000           Debtor 1 and Debtor 2 only                               entire property?          portion you own?
             Other information:                                  At least one of the debtors and another

                                                                 Check if this is community property                                $3,000.00                 $3,000.00
                                                                   (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       No
        Yes


     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       .you have attached for Part 2. Write that number here.............................................................................=>                 $3,000.00

     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
    6. Household goods and furnishings
        Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes.     Describe.....
                                       Sofa, Recliner, Dining Set, Refrigerator, W/D, Beds: [Twin (2),
                                       Full, Captain (2)], Dressers, Wall Decor, misc other hshld goods,
                                       kitchen utensils                                                                                                         $2,000.00


    7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                   including cell phones, cameras, media players, games
        No
        Yes.     Describe.....
                                       Computer (old); TVs (2) 43"                                                                                                 $300.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
                   collections, memorabilia, collectibles
        No
         Yes.    Describe.....

    9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
                  instruments
        No
         Yes.    Describe.....

    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
         Yes.    Describe.....
    Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
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Filed 06/24/19                                                                                      Case 19-23969                                                               Doc 1
     Debtor 1          Brooks, Bonnie Fay                                                                                      Case number (if known)


    11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes.        Describe.....
                                                Clothing                                                                                                              $250.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
         Yes.       Describe.....

    13. Non-farm animals
         Examples: Dogs, cats, birds, horses
        No
        Yes.        Describe.....
                                                Service Animal (Papillon Small Dog)                                                                                   $200.00


    14. Any other personal and household items you did not already list, including any health aids you did not list
        No
         Yes.       Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
         Part 3. Write that number here ..............................................................................                                           $2,750.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                        Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

    16. Cash
         Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................
                                                                                                                                  Cash                                  $70.00


    17. Deposits of money
         Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
        No
       Yes........................                                     Institution name:

                                                             Checking And
                                                  17.1.      Savings                                Bank of America                                                  $-750.00


                                                             Checking and
                                                  17.2.      Savings                                SAFE CU                                                         $1,000.00


    18. Bonds, mutual funds, or publicly traded stocks
         Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
         Yes..................                            Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
         joint venture
        No
         Yes.       Give specific information about them...................
                                           Name of entity:                                                                      % of ownership:

    Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3
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Filed 06/24/19                                                                 Case 19-23969                                                                        Doc 1
     Debtor 1        Brooks, Bonnie Fay                                                                           Case number (if known)


    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
         Yes. Give specific information about them
                                               Issuer name:

    21. Retirement or pension accounts
         Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
         Yes. List each account separately.
                                            Type of account:                   Institution name:

    22. Security deposits and prepayments
         Your share of all unused deposits you have made so that you may continue service or use from a company
         Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
         Yes. .....................                                           Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
         Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
         Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
         Yes.     Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
         Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
         Yes.     Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
         Yes.     Give specific information about them...

     Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

    28. Tax refunds owed to you
        No
         Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
         Yes. Give specific information......

    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                                   compensation, Social Security benefits;
                  unpaid loans you made to someone else
        No
         Yes.     Give specific information..


    Official Form 106A/B                                                  Schedule A/B: Property                                                              page 4
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Filed 06/24/19                                                                        Case 19-23969                                                                                  Doc 1
     Debtor 1        Brooks, Bonnie Fay                                                                                         Case number (if known)

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                         s, or renter’
                                                                                                                     s insurance
        No
         Yes. Name the insurance company of each policy and list its value.
                                               Company name:                                                         Beneficiary:                              Surrender or refund
                                                                                                                                                               value:

    32. Any interest in property that is due you from someone who has died
         If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
         died.
        No
         Yes.     Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
         Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
         Yes.     Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
         Yes.     Describe each claim.........

    35. Any financial assets you did not already list
        No
         Yes.     Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
         Part 4. Write that number here.....................................................................................................................             $320.00

     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
        Yes.    Go to line 38.



     Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
           Yes.    Go to line 47.



     Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
         Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........
                                               Shell Time Share - Napa Valley                                                                                              $2,500.00

                                               Wyndham Time Share - Florida                                                                                                $2,000.00


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                          $4,500.00




    Official Form 106A/B                                                        Schedule A/B: Property                                                                          page 5
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Filed 06/24/19                                                                                Case 19-23969                                                                              Doc 1
     Debtor 1         Brooks, Bonnie Fay                                                                                                    Case number (if known)

     Part 8:         List the Totals of Each Part of this Form


     55. Part 1: Total real estate, line 2 ......................................................................................................................          $775,000.00
     56. Part 2: Total vehicles, line 5                                                                             $3,000.00
     57. Part 3: Total personal and household items, line 15                                                        $2,750.00
     58. Part 4: Total financial assets, line 36                                                                      $320.00
     59. Part 5: Total business-related property, line 45                                                               $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
     61. Part 7: Total other property not listed, line 54                                             +             $4,500.00

     62. Total personal property. Add lines 56 through 61...                                                      $10,570.00              Copy personal property total       $10,570.00

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $785,570.00




    Official Form 106A/B                                                               Schedule A/B: Property                                                                     page 6
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Filed 06/24/19                                                                  Case 19-23969                                                                                  Doc 1
                  Fill in this information to identify your case:

     Debtor 1                 Bonnie Fay Brooks
                              First Name                        Middle Name                     Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                     Last Name


                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
    property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
    out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
    known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
    applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
    to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
    applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                   portion you own
                                                                  Copy the value from        Check only one box for each exemption.
                                                                  Schedule A/B

                                                                                                                                      CCCP § 704.730(a)(3)
          531 Lagomarsino Way
                                                                       $775,000.00                                 $175,000.00
          Sacramento CA, 95819-3030                                                              100% of fair market value, up to
          Line from Schedule A/B: 1.1                                                             any applicable statutory limit

          Honda                                                                                                                       CCCP § 704.010
          Odyssey
                                                                          $3,000.00                                    $3,000.00
          2003                                                                                   100% of fair market value, up to
          106000                                                                                  any applicable statutory limit
          Line from Schedule A/B: 3.1

          Sofa, Recliner, Dining Set,                                                                                                 CCCP § 704.020
          Refrigerator, W/D, Beds: [Twin (2),
                                                                          $2,000.00                                    $2,000.00
          Full, Captain (2)], Dressers, Wall                                                     100% of fair market value, up to
          Decor, misc other hshld goods,                                                          any applicable statutory limit
          kitchen utensils
          Line from Schedule A/B: 6.1

          Computer (old); TVs (2) 43"                                                                                                 CCCP § 704.020
          Line from Schedule A/B: 7.1
                                                                              $300.00                                    $300.00
                                                                                                 100% of fair market value, up to
                                                                                                  any applicable statutory limit




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 2
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Filed 06/24/19                                                                Case 19-23969                                                                          Doc 1

         Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
         Schedule A/B that lists this property                  portion you own
                                                                Copy the value from    Check only one box for each exemption.
                                                                Schedule A/B

         Clothing                                                                                                               CCCP § 704.020
         Line from Schedule A/B: 11.1
                                                                          $250.00                                  $250.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Service Animal (Papillon Small Dog)                                                                                    CCCP § 704.020
         Line from Schedule A/B: 13.1
                                                                          $200.00                                  $200.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Bank of America                                                 $-750.00                                              CCCP § 704.110(d)
         Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         SAFE CU                                                                                                                CCCP § 704.080
         Line from Schedule A/B: 17.2
                                                                       $1,000.00                                 $1,000.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                      No
                      Yes




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
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Filed 06/24/19                                                                   Case 19-23969                                                                                 Doc 1
                  Fill in this information to identify your case:

     Debtor 1                   Bonnie Fay Brooks
                                First Name                      Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                         EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:             DIVISION

     Case number
     (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
    needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
    known).
    1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             Equiant Financial
     2.1                                              Describe the property that secures the claim:                 $16,472.00                 $2,500.00          $13,972.00
             Services
             Creditor's Name
                                                      Shell Time Share - Napa Valley

             5401 N Pima Rd Ste 150                   As of the date you file, the claim is: Check all that
             Scottsdale, AZ                           apply.
             85250-2630                                Contingent
             Number, Street, City, State & Zip Code    Unliquidated
                                                       Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                   An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)     Time Share Loan
           community debt

     Date debt was incurred          2014                      Last 4 digits of account number        6454




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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Filed 06/24/19                                                                    Case 19-23969                                                                              Doc 1

     Debtor 1 Bonnie Fay Brooks                                                                                Case number (if known)
                  First Name                  Middle Name                     Last Name


            Novad Reverse Mtge
     2.2                                               Describe the property that secures the claim:                 $688,000.00         $775,000.00                 $0.00
            Svcg
            Creditor's Name
                                                       531 Lagomarsino Way,
                                                       Sacramento, CA 95819-3030
            2401 NW 23rd St Ste 1A1                    As of the date you file, the claim is: Check all that
            Oklahoma City, OK                          apply.
            73107-2448                                  Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
      Debtor 2 only                                        car loan)
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                Other (including a right to offset)     Reverse Mortgage
           community debt

     Date debt was incurred                                     Last 4 digits of account number



     Add the dollar value of your entries in Column A on this page. Write that number here:                                $704,472.00
     If this is the last page of your form, add the dollar value totals from all pages.
     Write that number here:                                                                                               $704,472.00

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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Filed 06/24/19                                                                     Case 19-23969                                                                                             Doc 1
          Fill in this information to identify your case:

     Debtor 1                   Bonnie Fay Brooks
                                First Name                       Middle Name                       Last Name

     Debtor 2
     (Spouse if, filing)        First Name                       Middle Name                      Last Name


                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number
     (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                             amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
    D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
    the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
    case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
           Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
           1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                           Total claim          Priority              Nonpriority
                                                                                                                                                amount                amount
     2.1          Franchise Tax Board                                  Last 4 digits of account number         3042              $9,041.00             $9,041.00                    $0.00
                  Priority Creditor's Name
                  Bankruptcy Section MS A-340                          When was the debt incurred?             2016
                  PO Box 2952
                  Sacramento, CA 95812-2952
                  Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                           Contingent
            Debtor 1 only                                              Unliquidated
             Debtor 2 only                                             Disputed
             Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

             At least one of the debtors and another                   Domestic support obligations
             Check if this claim is for a community debt              Taxes and certain other debts you owe the government
            Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
            No                                                         Other. Specify
             Yes                                                                           Personal Income Taxes


     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes.
     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
           2.
                                                                                                                                                                Total claim




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 8
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     4.1      Barclays Bank Delaware                                Last 4 digits of account number       4642                                        $4,500.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2013
              125 S West St
              Wilmington, DE 19801-5014
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Acct transferred to unknown creditor


     4.2      Bottom Line Books                                     Last 4 digits of account number       0086                                          $50.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2018
              PO Box 37947
              Boone, IA 50037-0947
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Mail Order


     4.3      Cep America California                                Last 4 digits of account number       1223                                         $543.00
              Nonpriority Creditor's Name
              Wakefield and Associates                              When was the debt incurred?           2018-12
              7005 Middlebrook Pike
              Knoxville, TN 37909-1156
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Medical Collection Attorney




    Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 8
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     4.4      Citibank NA                                           Last 4 digits of account number       4643                                         $4,368.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2013-11
              PO Box 6497
              Sioux Falls, SD 57117-6497
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Revolving account


     4.5      Citicards CBNA                                        Last 4 digits of account number       8390                                        $32,332.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           1994-09
              PO Box 6217
              Sioux Falls, SD 57117-6217
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Revolving account


     4.6      City of Sacramento Utilities                          Last 4 digits of account number       4000                                          $300.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2018
              1395 35th Ave
              Sacramento, CA 95822-2911
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      City Utilities




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     4.7      Genesis First Electronic Bank                         Last 4 digits of account number       1663                                         $5,128.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2018-04
              PO Box 4499
              Beaverton, OR 97076-4499
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Revolving account


     4.8      Internal Revenue Service                              Last 4 digits of account number       8394                                        $10,000.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2014
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Income Taxes


     4.9      Nationwide Insurance Co                               Last 4 digits of account number       9794                                          $200.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2019
              PO Box 60068
              City of Industry, CA 91716-0068
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Cancelled Insurance Policy




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     4.10     North Shore Agency                                    Last 4 digits of account number       0086                                          $350.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2018
              270 Spagnoli Rd Ste 110
              Melville, NY 11747-3515
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Mail Order Collections Attorney


     4.11     PGE                                                   Last 4 digits of account number       6570                                          $827.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2018
              PO Box 997300
              Sacramento, CA 95899-7300
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Utilities


     4.12     Sears CBNA                                            Last 4 digits of account number       8998                                        $10,570.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           1999-01
              PO Box 6217
              Sioux Falls, SD 57117-6217
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Revolving account




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     4.13     SMUD                                                  Last 4 digits of account number                                                   $1,000.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2019
              PO Box 15555
              Sacramento, CA 95852-1555
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Utilities


     4.14     Sutter Medical Center Sacramento                      Last 4 digits of account number       1208                                        $1,500.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2019
              PO Box 748104
              Los Angeles, CA 90074-8104
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Medical Services


     4.15     THD CBNA                                              Last 4 digits of account number       3440                                        $5,605.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2001-08
              PO Box 6497
              Sioux Falls, SD 57117-6497
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                         Contingent
               Debtor 2 only                                        Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify      Revolving account




    Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 8
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     Debtor 1 Brooks, Bonnie Fay                                                                         Case number (if known)

     4.16      THD CBNA                                              Last 4 digits of account number       4039                                                $3,459.00
               Nonpriority Creditor's Name
                                                                     When was the debt incurred?           2012-08
               PO Box 6497
               Sioux Falls, SD 57117-6497
               Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               Debtor 1 only                                         Contingent
                Debtor 2 only                                        Unliquidated
                Debtor 1 and Debtor 2 only                           Disputed
                At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community               Student loans
               debt                                                   Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                       report as priority claims
               No                                                    Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                 Other. Specify      Revolving account


     4.17      Two Jinn Inc                                          Last 4 digits of account number       3352                                                $4,912.00
               Nonpriority Creditor's Name
               c/o Titan Receivables Inc                             When was the debt incurred?           2017-02
               7700 Irvine Center Dr Ste 800
               Irvine, CA 92618-3047
               Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               Debtor 1 only                                         Contingent
                Debtor 2 only                                        Unliquidated
                Debtor 1 and Debtor 2 only                           Disputed
                At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community               Student loans
               debt                                                   Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                       report as priority claims

               No                                                    Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                 Other. Specify      Bail Bond Collection Attorney

     Part 3:     List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Titan Receivables Inc                                      Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     7700 Irvine Center Drive St                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
     Irvine, CA 92602
                                                                Last 4 digits of account number                  3352
     Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Wakefield & Associates                                     Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     7005 Middlebrook Pike                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     Knoxville, TN 37909-1156
                                                                Last 4 digits of account number                  1223

     Part 4:     Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                   Total Claim
                            6a.   Domestic support obligations                                             6a.       $                           0.00
     Total claims
     from Part 1            6b.   Taxes and certain other debts you owe the government                     6b.       $                       9,041.00
                            6c.   Claims for death or personal injury while you were intoxicated           6c.       $                           0.00
    Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 7 of 8
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                            6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.     $                      0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                    6e.     $                  9,041.00

                                                                                                                               Total Claim
                            6f.   Student loans                                                               6f.     $                      0.00
     Total claims
     from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                       6g.     $                      0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.     $                      0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                  here.                                                                               $                 85,644.00

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.     $                 85,644.00




    Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 8 of 8
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Filed 06/24/19                                                                 Case 19-23969                                                                         Doc 1
                  Fill in this information to identify your case:

     Debtor 1                 Bonnie Fay Brooks
                              First Name                         Middle Name           Last Name

     Debtor 2
     (Spouse if, filing)      First Name                         Middle Name          Last Name


                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number
     (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
           unexpired leases.


               Person or company with whom you have the contract or lease                State what the contract or lease is for
                              Name, Number, Street, City, State and ZIP Code

         2.1      Equiant Financial Svcs                                                    Installment account opened 1/1/2014
                  5401 N Pima Rd Ste 150                                                     Credit Limit: $0.00, Remaining Balance: $16,472.00
                  Scottsdale, AZ 85250-2630




    Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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Filed 06/24/19                                                                     Case 19-23969                                                              Doc 1
                  Fill in this information to identify your case:

     Debtor 1                   Bonnie Fay Brooks
                                First Name                           Middle Name          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name          Last Name


                                                             EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                 DIVISION

     Case number
     (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                        12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
    are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
    case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
           Yes
           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
           California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
          line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
          106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
          Column 2.

                    Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

        3.1                                                                                                 Schedule D, line
                     Name
                                                                                                            Schedule E/F, line
                                                                                                            Schedule G, line
                     Number            Street
                     City                                    State                         ZIP Code




        3.2                                                                                                 Schedule D, line
                     Name
                                                                                                            Schedule E/F, line
                                                                                                            Schedule G, line
                     Number            Street
                     City                                    State                         ZIP Code




    Official Form 106H                                                                Schedule H: Your Codebtors                                   Page 1 of 1
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Filed 06/24/19                                                          Case 19-23969                                                                              Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Bonnie Fay Brooks

     Debtor 2
     (Spouse, if filing)


     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA,
                                                   SACRAMENTO DIVISION

     Case number                                                                                               Check if this is:
     (If known)
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter 13
                                                                                                                  income as of the following date:
     Official Form 106I                                                                                            MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                  Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                  Employed
            attach a separate page with           Employment status
            information about additional                                  Not employed                               Not employed
            employers.
                                                  Occupation
            Include part-time, seasonal, or
            self-employed work.                   Employer's name

            Occupation may include student or Employer's address
            homemaker, if it applies.


                                                  How long employed there?

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
    unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
    space, attach a separate sheet to this form.

                                                                                                             For Debtor 1        For Debtor 2 or
                                                                                                                                 non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.            2.    $              0.00     $               N/A

     3.     Estimate and list monthly overtime pay.                                                3.   +$              0.00     +$              N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                           4.    $           0.00            $         N/A




    Official Form 106I                                                        Schedule I: Your Income                                                    page 1
Filed 06/24/19                                                        Case 19-23969                                                                                  Doc 1


     Debtor 1   Brooks, Bonnie Fay                                                                      Case number (if known)



                                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                                    non-filing spouse
          Copy line 4 here                                                                       4.         $              0.00     $              N/A

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                    5a.        $              0.00     $               N/A
          5b.   Mandatory contributions for retirement plans                                     5b.        $              0.00     $               N/A
          5c.   Voluntary contributions for retirement plans                                     5c.        $              0.00     $               N/A
          5d.   Required repayments of retirement fund loans                                     5d.        $              0.00     $               N/A
          5e.   Insurance                                                                        5e.        $              0.00     $               N/A
          5f.   Domestic support obligations                                                     5f.        $              0.00     $               N/A
          5g.   Union dues                                                                       5g.        $              0.00     $               N/A
          5h.   Other deductions. Specify:                                                       5h.+       $              0.00 +   $               N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.     $                  0.00     $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.     $                  0.00     $               N/A
     8.   List all other income regularly received:
          8a.    Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                             8a.        $              0.00     $               N/A
          8b. Interest and dividends                                                             8b.        $              0.00     $               N/A
          8c.    Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                            8c.        $      1,797.00         $               N/A
          8d. Unemployment compensation                                                          8d.        $          0.00         $               N/A
          8e.    Social Security                                                                 8e.        $        908.00         $               N/A
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                        8f.  $                0.00   $                     N/A
          8g. Pension or retirement income                                                       8g. $             2,412.00   $                     N/A
          8h. Other monthly income. Specify:                                                     8h.+ $                0.00 + $                     N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                               9.     $          5,117.00         $                N/A

     10. Calculate monthly income. Add line 7 + line 9.                                        10. $            5,117.00 + $             N/A = $           5,117.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                       11.     +$             0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $          5,117.00
                                                                                                                                               Combined
                                                                                                                                               monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
              No.
          Yes. Explain: DIvorced former-spouse paying support is 102 years of age.




    Official Form 106I                                                       Schedule I: Your Income                                                        page 2
Filed 06/24/19                                                               Case 19-23969                                                                          Doc 1



      Fill in this information to identify your case:

      Debtor 1              Bonnie Fay Brooks                                                                      Check if this is:
                                                                                                                    An amended filing
      Debtor 2                                                                                                      A supplement showing postpetition chapter 13
      (Spouse, if filing)                                                                                              expenses as of the following date:

      United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA,                                           MM / DD / YYYY
                                                 SACRAMENTO DIVISION

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                               12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
            No. Go to line 2.
             Yes. Does Debtor 2 live in a separate household?
                   No
                   Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?             No
            Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                       s     Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                  No
            dependents names.                                                                                                                 Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
      3.    Do your expenses include
            expenses of people other than
                                                      No
            yourself and your dependents?              Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know the
      value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                            4. $                             0.00

            If not included in line 4:

            4a.   Real estate taxes                                                                               4a.    $                        105.00
            4b. Property, homeowner’    s, or renter’
                                                    s insurance                                                   4b.    $                        221.00
            4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                        150.00
            4d. Homeowner’     s association or condominium dues                                                  4d.    $                          0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                          0.00



      Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
Filed 06/24/19                                                              Case 19-23969                                                                                    Doc 1


      Debtor 1     Brooks, Bonnie Fay                                                                        Case number (if known)

      6.    Utilities:
            6a.     Electricity, heat, natural gas                                                    6a. $                                              400.00
            6b. Water, sewer, garbage collection                                                     6b. $                                               287.00
            6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                               97.00
            6d. Other. Specify:                                                                      6d. $                                                 0.00
      7.    Food and housekeeping supplies                                                             7. $                                              550.00
      8.    Childcare and children’     s education costs                                              8. $                                                0.00
      9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
      10.   Personal care products and services                                                      10. $                                               175.00
      11.   Medical and dental expenses                                                              11. $                                               700.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                             12. $                                               550.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               150.00
      14.   Charitable contributions and religious donations                                         14. $                                               380.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                     15a. $                                                 0.00
            15b. Health insurance                                                                   15b. $                                               270.00
            15c. Vehicle insurance                                                                  15c. $                                               197.00
            15d. Other insurance. Specify:                                                          15d. $                                                 0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: FTB/IRS Back-Tax Payments                                                       16. $                                               300.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
            17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
            17c. Other. Specify: Tesla Solar                                                        17c. $                                                 81.00
            17d. Other. Specify:                                                                    17d. $                                                  0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
      19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
            Specify:                                                                                 19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                        20a. $                                                 0.00
            20b. Real estate taxes                                                                  20b. $                                                 0.00
            20c. Property, homeowner’      s, or renter’
                                                       s insurance                                  20c. $                                                 0.00
            20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
            20e. Homeowner’       s association or condominium dues                                 20e. $                                                 0.00
      21.   Other: Specify:        Birthdays / Holidays / Misc                                       21. +$                                              100.00
            Service Animal / Pet                                                                          +$                                             100.00
            Helps Grandson                                                                                +$                                              75.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                      $                       4,988.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       4,988.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               5,117.00
          23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              4,988.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                                 129.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
             No.
            Yes.               Explain here: Debtor expects up to $15,000 in dental costs upcoming




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 06/24/19                                                        Case 19-23969                                                                              Doc 1



           Fill in this information to identify your case:

     Debtor 1                    Bonnie Fay Brooks
                                 First Name             Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)         First Name             Middle Name             Last Name

                                                  EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:      DIVISION

     Case number
     (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                   12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


                   No

                   Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                            Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Bonnie Brooks                                                 X
                  Bonnie Fay Brooks                                                 Signature of Debtor 2
                  Signature of Debtor 1

                  Date       June 19, 2019                                          Date
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                Fill in this information to identify your case:

     Debtor 1                 Bonnie Fay Brooks
                              First Name                        Middle Name                 Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                 Last Name

                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                 Married
                 Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                 No
                 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                    there                                                                            lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                 No
                 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                 No
                 Yes. Fill in the details.

                                                     Debtor 1                                                        Debtor 2
                                                     Sources of income                 Gross income                  Sources of income               Gross income
                                                     Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                       exclusions)                                                   and exclusions)




    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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     Debtor 1     Brooks, Bonnie Fay                                                                          Case number (if known)



    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
          other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
          you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

               No
               Yes. Fill in the details.

                                                      Debtor 1                                                       Debtor 2
                                                      Sources of income                Gross income from             Sources of income             Gross income
                                                      Describe below.                  each source                   Describe below.               (before deductions
                                                                                       (before deductions and                                      and exclusions)
                                                                                       exclusions)
     From January 1 of current year until             Federal Retirement                          $13,800.00
     the date you filed for bankruptcy:               Benefits

                                                      Spousal Support                             $10,782.00

                                                      Social Security                               $5,346.00

     For last calendar year:                          Federal Retirement                          $27,600.00
     (January 1 to December 31, 2018 )                Benefits

                                                      Spousal Support                             $21,564.00

                                                      Social Security                             $10,600.00

     For the calendar year before that:               Federal Retirement                          $27,600.00
     (January 1 to December 31, 2017 )                Benefits

                                                      Spousal Support                             $21,564.00

                                                      Social Security                             $10,500.00


     Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                                incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                            No.      Go to line 7.
                            Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                    creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                    payments to an attorney for this bankruptcy case.
                        * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

               Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                            No.      Go to line 7.
                         Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                      payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                      this bankruptcy case.


           Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                       paid             still owe



    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

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     Debtor 1     Brooks, Bonnie Fay                                                                          Case number (if known)



           Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                       paid             still owe
           Citibank                                              $828 per month                   $2,484.00          $32,332.00         Mortgage
           PO Box 6235                                                                                                                  Car
           Sioux Falls, SD 57117-6235                                                                                                  Credit Card
                                                                                                                                        Loan Repayment
                                                                                                                                        Suppliers or vendors
                                                                                                                                        Other

    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
          which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
          business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

               No
               Yes. List all payments to an insider.
           Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                       paid             still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

               No
               Yes. List all payments to an insider
           Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                       paid             still owe      Include creditor's name

     Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
          and contract disputes.

               No
               Yes. Fill in the details.
           Case title                                            Nature of the case           Court or agency                          Status of the case
           Case number

    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

               No. Go to line 11.
               Yes. Fill in the information below.
           Creditor Name and Address                             Describe the Property                                          Date                        Value of the
                                                                                                                                                               property
                                                                 Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
               No
               Yes. Fill in the details.
           Creditor Name and Address                             Describe the action the creditor took                          Date action was                   Amount
                                                                                                                                taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

               No
               Yes



    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3

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     Debtor 1     Brooks, Bonnie Fay                                                                           Case number (if known)



     Part 5:     List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
               No
               Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
           person                                                                                                                the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
               Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
           more than $600                                                                                                        contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)
           7th Day Adventist                                              Tithe                                                  weekly                    $75.00
           6511 Camelia
           Sacramento, CA 94203


     Part 6:     List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

               No
               Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your      Value of property
           how the loss occurred                                                                                                 loss                           lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 ofSchedule A/B: Property.

     Part 7:     List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
           Address                                                        transferred                                            transfer was             payment
           Email or website address                                                                                              made
           Person Who Made the Payment, if Not You
           Law Office of George Burke                                     Money                                                  June 4, 2019              $975.00
           1102 Q St Ste 110
           Sacramento, CA 95811-6539


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
           Address                                                        transferred                                            transfer was             payment
                                                                                                                                 made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property


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          transferred in the ordinary course of your business or financial affairs?
          Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
          gifts and transfers that you have already listed on this statement.
               No
               Yes. Fill in the details.
           Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
           Address                                                      property transferred                       payments received or debts   made
                                                                                                                   paid in exchange
           Person's relationship to you

    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
               No
               Yes. Fill in the details.
           Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                                made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
               No
               Yes. Fill in the details.
           Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was     Last balance before
           Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         closing or transfer
           Code)                                                                                                           moved, or
                                                                                                                           transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

               No
               Yes. Fill in the details.
           Name of Financial Institution                                Who else had access to it?             Describe the contents               Do you still
           Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                       have it?
                                                                        and ZIP Code)

    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

               No
               Yes. Fill in the details.
           Name of Storage Facility                                     Who else has or had access             Describe the contents               Do you still
           Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                        Address (Number, Street, City, State
                                                                        and ZIP Code)

     Part 9:       Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
        someone.

               No
               Yes. Fill in the details.
           Owner's Name                                                 Where is the property?                 Describe the property                          Value
           Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                        Code)

     Part 10:      Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

         Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
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          controlling the cleanup of these substances, wastes, or material.
         Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
          own, operate, or utilize it, including disposal sites.
         Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
          material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

               No
               Yes. Fill in the details.
           Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                       ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

               No
               Yes. Fill in the details.
           Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                       ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No
               Yes. Fill in the details.
           Case Title                                                  Court or agency                            Nature of the case                    Status of the
           Case Number                                                 Name                                                                             case
                                                                       Address (Number, Street, City, State
                                                                       and ZIP Code)

     Part 11:    Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation
               No. None of the above applies. Go to Part 12.

               Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                         Describe the nature of the business                   Employer Identification number
           Address                                                                                                     Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                       Dates business existed

    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

               No
               Yes. Fill in the details below.
           Name                                                  Date Issued
           Address
           (Number, Street, City, State and ZIP Code)

     Part 12:    Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
    true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
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    bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Bonnie Brooks
     Bonnie Fay Brooks                                                     Signature of Debtor 2
     Signature of Debtor 1

     Date     June 19, 2019                                                Date

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
    No
     Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
    No
     Yes. Name of Person                . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                  page 7

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    B2030 (Form 2030) (12/15)
                                                                United States Bankruptcy Court
                                                       Eastern District of California, Sacramento Division
     In re       Brooks, Bonnie Fay                                                                              Case No.
                                                                                 Debtor(s)                       Chapter      7

                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                 $                    975.00
                 Prior to the filing of this statement I have received                                       $                    975.00
                 Balance Due                                                                                 $                       0.00

    2.     The source of the compensation paid to me was:
                       Debtor         Other (specify):

    3.     The source of compensation to be paid to me is:
                       Debtor         Other (specify):

    4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
                firm.

              I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]


    6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                         CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         June 19, 2019                                                           /s/ George Burke
         Date                                                                    George Burke
                                                                                 Signature of Attorney
                                                                                 Law Office of George Burke

                                                                                 1102 Q St Ste 110
                                                                                 Sacramento, CA 95811-6539
                                                                                 (916) 447-2222
                                                                                 attorney@gburkelaw.com
                                                                                 Name of law firm




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     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Bonnie Fay Brooks
     Debtor 2
     (Spouse, if filing)
                                                                                                          1. There is no presumption of abuse
                                                      Eastern District of California,
                                                                                                           2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:          Sacramento Division                                        applies will be made underChapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
     Case number                                                                                           3. The Means Test does not apply now because of qualified
     (if known)
                                                                                                                 military service but it could apply later.
                                                                                                            Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
    a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
    number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
    military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
            Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                      penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                      apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
        6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
        own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A                 Column B
                                                                                                            Debtor 1                 Debtor 2 or
                                                                                                                                     non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                                      $                       0.00      $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                                    $                 1,797.00        $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents, and
         roommates. Include regular contributions from a spouse only if Column B is not filled in.
         Do not include payments you listed on line .3                                             $                       0.00      $
      5. Net income from operating a business, profession, or farm
                                                                            Debtor 1
            Gross receipts (before all deductions)                            $     0.00
            Ordinary and necessary operating expenses                        -$     0.00
            Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                    0.00      $
      6. Net income from rental and other real property
                                                                                        Debtor 1
            Gross receipts (before all deductions)                            $     0.00
            Ordinary and necessary operating expenses                        -$     0.00
            Net monthly income from rental or other real property            $      0.00 Copy here -> $                    0.00      $
                                                                                                            $              0.00      $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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                                                                                                          Column A                     Column B
                                                                                                          Debtor 1                     Debtor 2 or
                                                                                                                                       non-filing spouse
      8. Unemployment compensation                                                                        $                 0.00       $
           Do not enter the amount if you contend that the amount received was a benefit under the
           Social Security Act. Instead, list it here:
                For you                                                   $                   0.00
                For your spouse                                           $
      9. Pension or retirement income. Do not include any amount received that was a benefit
          under the Social Security Act.                                                             $                2,412.00         $
      10. Income from all other sources not listed above. Specify the source and amount. Do
          not include any benefits received under the Social Security Act or payments received as
          a victim of a war crime, a crime against humanity, or international or domestic terrorism.
          If necessary, list other sources on a separate page and put the total below.
                  .                                                                                  $                      0.00       $
                                                                                                          $                 0.00       $
                      Total amounts from separate pages, if any.                                     +    $                 0.00       $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.                $       4,209.00          +   $                  =    $      4,209.00

                                                                                                                                                       Total current monthly
                                                                                                                                                       income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>            $          4,209.00

                  Multiply by 12 (the number of months in a year)                                                                                       x 12
           12b. The result is your annual income for this part of the form                                                                   12b. $         50,508.00

      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                   CA

           Fill in the number of people in your household.                         1
           Fill in the median family income for your state and size of household.                                                    13.           $        57,962.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                       ’
           form. This list may also be available at the bankruptcy clerk
                                                                       s office.

      14. How do the lines compare?
           14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                     There is no presumption of abuse.
                          Go to Part 3.
           14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Bonnie Brooks
                    Bonnie Fay Brooks
                    Signature of Debtor 1
            Date June 19, 2019
                 MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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